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                  EXHIBIT 7
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1                    UNITED STATES DISTRICT COURT
2                   NORTHERN DISTRICT OF CALIFORNIA
3                        SAN FRANCISCO DIVISION
4
5    ___________________________________
6    WAYMO LLC,                                          )
7                       Plaintiff,                       )
8        vs.                                             ) Case No.
9    UBER TECHNOLOGIES, INC.;                            ) 17-cv-00939-WHA
10   OTTOMOTTO, LLC; OTTO TRUCKING LLC, )
11                    Defendants.                        )
     ___________________________________)
12
13    HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY
14
15       VIDEOTAPED DEPOSITION OF ANGELA L. PADILLA, ESQ.
16                      San Francisco, California
17                        Monday, October, 2017
18                                 Volume I
19
20   Reported by:
21   MARY J. GOFF
22   CSR No. 13427
23   JOB No. 2716665
24
25   PAGES 1-111

                                                                  Page 1

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1    subject?                                                     10:34:28

2         A     Truly, I do not.                                  10:34:29

3         Q     So you can't testify as to what sources           10:34:45

4    within Uber were searched or not searched in -- to           10:34:47

5    comply with the court's order; is that right?                10:34:55

6         A     I don't know if that impinges on privilege        10:35:03

7    or not.                                                      10:35:05

8         Q     Okay.     What sources did Uber search within     10:35:05

9    Uber to comply with the court's order?                       10:35:11

10        A     As far as I recall, everywhere.         Meaning   10:35:16

11   we took this order very, very seriously and put a            10:35:21

12   ton of people power on the direction here in                 10:35:28

13   paragraph 4.                                                 10:35:34

14              And I believe we also retained outside            10:35:36

15   experts to help us and moved heaven and earth to             10:35:38

16   look under every rock and understand the answer to           10:35:46

17   paragraph 4.                                                 10:35:50

18        Q     Okay.     So who did -- who did you retain?       10:35:53

19        A     I don't recall the name of the forensic           10:35:59

20   expert that was retained.                                    10:36:01

21        Q     Do you recall the -- the entity?                  10:36:02

22        A     Hum-um.     I don't.   I'm sorry.                 10:36:04

23        Q     Do you know what specifically that entity         10:36:06

24   did to search within Uber?                                   10:36:10

25        A     I'm sure -- sorry.      Is your question done?    10:36:16

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1    to mind right now.                                          10:38:15

2         Q       (BY MR. PERLSON) Okay.                         10:38:16

3         A       And speak to the individuals named here,       10:38:17

4    Anthony, Sameer, Radu.                                      10:38:19

5                 The idea was to -- to leave no stone           10:38:24

6    unturned.     The idea was scorched-earth approach.         10:38:26

7         Q       But you didn't search everywhere -- Uber       10:38:34

8    didn't search everywhere within -- let me start over        10:38:37

9    again.                                                      10:38:41

10                Uber did not search every electronic           10:38:42

11   source of data within Uber in response to the               10:38:44

12   court's March 16 order?      Would you agree with that?     10:38:53

13        A       I don't have a basis to agree or not           10:38:59

14   agree.    I'm sure that what we searched was based on       10:39:01

15   identifying the most likely places where any of this        10:39:06

16   information would -- would be found, if it was there        10:39:13

17   at all.                                                     10:39:16

18        Q       Okay.   What areas were searched               10:39:17

19   specifically?                                               10:39:19

20        A       For that, you would have to ask others on      10:39:20

21   the team or outside counsel and the vendor that             10:39:22

22   helped us.                                                  10:39:26

23        Q       Okay.   You don't -- you don't know that --    10:39:28

24   you don't have any personal knowledge of that               10:39:30

25   yourself?                                                   10:39:32

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1            A   I really don't.                                 10:39:33

2            Q   Okay.   And so you don't know specifically      10:39:33

3    what outside counsel did in terms of trying to              10:39:37

4    obtain -- obtain any information responsive to              10:39:44

5    paragraph 4 of the March 16 order; is that fair?            10:39:48

6            A   I mean, that's fair to say.        I know in    10:39:52

7    general how one would search for this kind of               10:39:54

8    information, but I don't know specifically what they        10:39:57

9    did.                                                        10:40:01

10           Q   Okay.   And as to the in-house counsel that     10:40:01

11   was tasked to assist with Uber's response to                10:40:08

12   paragraph 4 of the court's March 16 order, you don't        10:40:12

13   know specifically what -- what they did; is that            10:40:16

14   fair?                                                       10:40:20

15           A   I know they spent a ton of time over at         10:40:20

16   Otto in trying to find any of this information, if          10:40:24

17   any of it existed, and interviewing people and              10:40:28

18   reviewing forensic material that had been acquired.         10:40:33

19               But -- but in terms of telling you detail       10:40:37

20   by detail, no, I can't do that.                             10:40:39

21           Q   Okay.   And -- and how did you know that        10:40:42

22   the -- that your in-house team was -- was doing             10:40:43

23   investigations or talking to people at Ottomotto?           10:40:52

24           A   I was told so.                                  10:40:56

25           Q   Okay.   By your in-house --                     10:40:57

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